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                        EXHIBIT A
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                                                                                                      F   ﬂ   LE      D       ORNIA
                                                                                                      R COURT 0F CAL“:
                                                                                       $$$$ng 0F SAN BERNA1BRQICNT0
                                                                                                        ms                        .
        Michael   J.      (SBN 208123)
                       Jaurigue                                                             SAN BERNARDNO
        S. Sean Shahabi (SBN 204710)

        Alexander K. Spellman (SBN 250398)                                                            FEB O8          2921
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       Attorneysfor Plaintiff
       Karina Robles
10
                                  SUPERIOR COURT FOR THE STATE 0F CALIFORNIA
11
                                          COUNTY OF SAN BERNARDINO
12

13
        Karina Robles, individually,                        Case No.
14
                           Plaintiff,                       COMPLAINT               CN SB                 2   1   05         3 8 5
15
                  v.
16
                                                             .   Disability Discrimination, Cal. Gov.                 Code    §
        AT&T Mobility                                            12940
                                     LLC, a Delaware
                             Services,
17      Limited Liability     Company; and DOES  l               Failure to Provide Reasonable
        through 50, inclusive,                                   Accommodations, Cal. Gov. Code                       12940
                                                                                                                  §
18
                           Defendants.
                                                             .   Failure to   Engage   in   Good      Faith Interactive
19
                                                                 Process, Cal. Gov.    Code       §   12940
                                                                 Retaliation, Cal. Lab. C. § 98.6
20
                                                                 Retaliation for Reporting Illegal Violation,
                                                                 Cal. Lab. C. §§ 1102.5, 1102.6
21
                                                                 Failure t0 Prevent Discrimination, Cal. Lab.
22                                                               Code   §   12940
                                                                 Wrongful Termination        in   Violation ofPublic
23
                                                                 Policy
24                                                               Failure to Provide   Meal Periods, Cal. Lab.
                                                                 Code §§    226.7, 512, Applicable Wage Order
25
                                                                 Failure t0 Provide Rest Periods, Cal. Lab.

26
                                                                 Code § 226.7, Applicable Wage Order
                                                           10.   Continuing Wages, Cal. Lab. Code §§ 201,
27                                                               202, 203

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                                                       COMPLAINT
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                      e$   v11”)
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                                              11.   Unfair Competition, Cal. Bus.   & Prof.   Code,   §
                                                    17200   et seq.



                                              DEMAND FOR JURY TRIAL




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                                         COMPLAINT
     Case 5:21-cv-01119-JGB-SHK Document 1-3 Filed 07/02/21 Page 5 of 38 Page ID #:16




                    l.              Plaintiff Karina Robles, individually, brings this action against                                  Defendants        AT&T
        Mobility Services,              LLC       and    DOES         1   through 50, inclusive.

                                                                                      PARTIES
                    2.              Plaintiff    is,   and   at all   times relevant to this action was, a resident 0f San Bernardino

        County, California.

                    3.              Plaintiff    is    informed and believes, and based thereon alleges, that Defendant                                   AT&T
        Mobility Services,              LLC      is    a Limited Liability         Company               organized under the laws 0fthe State of

        Delaware.

                    4.              Plaintiff does not         know        the true   names of Defendants Does                   1   through 50, inclusive, and

10     therefore sues               them by those         ﬁctitious names.            The names,              capacities,   and relationships ofDefendants

11     Does     l   through 50, inclusive, will be alleged by amendment to this Complaint                                              when      the   same   are   known
12     to Plaintiff.


13                  5.              Plaintiff    is    informed and believes and, 0n that basis, alleges, that                          at all   times mentioned       in


14     this   Complaint, each Defendant was acting as the agent, employee, partner, co-conspirator or joint

15     venture of each ofthe remaining Defendants, and                                   was         acting in concert with each remaining Defendant

16      in   doing the things herein alleged, and,                         at all times,     was         acting within the course and scope of such

17     agency, employment, partnership,joint venture, or concert ofaction.

18                  6.              AT&T Mobility            Services,       LLC      and Does            1   through 50, inclusive, are collectively

19     referred to hereafter as “Defendants.”


20                                                                    JURISDICTIONAND VENUE
21                  7.              The amount of damages sought                      herein        is   greater than $25,000.         Hence     this case is within


22     the unlimited jurisdiction 0fthis Court.

23                  8.              This Court hasjurisdiction over                   AT&T Mobility                  Services,   LLC   because     at all   times

24     relevant,         it   is   and was authorized          to transact,      and    is   transacting business in San Bernardino County,

25     California.


                    9.              Venue   is   proper      in this      Court pursuant t0 Code ofCivil Procedure                       § 395,        because the

27     acts, events,           and omissions complained ofherein occurred                                     in   San Bernardino County, California.

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                                                                                   COMPLAINT
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                                                         GENERAL ALLEGA TIONS
                 10.            Plaintiff began her   employment with Defendants               in or   around June 2014. At the onset 0f

     her employment, she received overall positive performance reviews. In August 2016, Plaintiffwas

     transferred to the            Rancho Cucamonga       location,    where she was promoted as a Retail Sales Consultant.

     By    20]   7, Plaintiff’s        performance reviews indicated that she ”far exceeded” herjob standard.

                 1   1.         Throughout the duration of Plaintiffs employment, she did not receive                                 all   her mandated

     meal and        rest periods. Plaintiffbrought this issue           up    to   management and nothing was done                          to   remedy     the


     situation.


                 12.            In response to Plaintiff’s complaints about her           missed meal and               rest period,         on

10   information and belief, Defendants would fabricate Plaintiff’s timecard t0                                 make        it   appear they were

11   compliant            in   providing Plaintiff lawful meal and rest periods.

12               l3.            Plaintiff sustained an injury at    work      in or   around November 25, 201                     7. Plaintiff     slipped

13   due   to the         wet ﬂoor and sustained a lumbar spine          injury.      She immediately informed her manager, Amir

14   Mashaki ("Mashaki"), who                  instructed Plaintiff to take an ”extended break” but did not offer Plaintiff any


15   medical attention. Plaintiff worked approximately another 3-4 hours even after her injury.                                             When
16   Plaintiffwent              home   that evening, Plaintiff’s   back pain became progressively worse.

17               14.            The following week,     Plaintiff complained t0         Mashaki and Assistant Manager, Francis

18   Martinez (“Martinez”), about the pain she was experiencing from her                               fall.    Plaintiff even          showed

19   Martinez her bruises and scratches from the injury sustained                        at   work.    Still,   despite           knowing her        injury,

20   Defendants failed t0 take corrective measures, and further neglected to refer her to a doctor 0r workers’

21   compensation for treatment.

22               15.            Plaintiff   proceeded t0 work despite having difﬁculty standing up or                             sitting   up    correctly.


23   Plaintiff’s physician             conﬁrmed    that she   had two fractured discs on March                  14,    201       8.


24               16.            Plaintiff   opened a worker's compensation case           in   or around        May 2018.
25               17.            By October 201 8,    Plaintiffwas receiving chiropractic treatment three times a week.                                  On
26   information and belief, Plaintiff‘s workers compensation attorney forwarded                                      all   medical documents t0

27   Defendants, where               Human     Resources indicated t0 Plaintiffthat everything was ”g00d;" however,

28   Plaintiffstill received threats             oftermination     letters.




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                                                                     COMPLAINT
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                18.     In   January       15,    2019, Plaintiffreceived a Return-to-Work                           letter   from Defendants

        informing her the date they expected her to report back t0 work, which also outlined the options

        available to her in the event that she             was unable    to   comply with                that date.


                19.     Plaintiff did not respond directly to the letter but her worker’s                                     compensation attorney      at


       that time   communicated with the Defendants                   directly       on her behalf. Defendants alleged that Plaintiffhas

       been 0n an unexcused absence since September 25, 2018 and as a                                      result,   Defendants considered Plaintiff

        ”voluntarily resigned” as of February 14, 2019.


               20.      On October 30,                2020, Plaintiff exhausted her administrative remedies by obtaining a

       Right t0 Sue   letter    from the Department of Fair Employment and Housing, attached hereto as Exhibit A.

10                                                          FIRST CA USE OFACTION
11                                                            Disability Discrimination

12                                                             Cal. Gov.      Code § 12940

13                                                (0n BehalfofPlaintiﬂAgainst All Defendants)

14             21.      Plaintiff re-pleads, re-alleges,             and incorporates by reference each and every allegation                             set


15     forth in this Complaint.


16             22.      Government Code section 12940(a) provides                                  in   relevant part:

17
                        It is   an unlawful employment practice.                     .   .
                                                                                             (a)   [ﬂor an employer, because 0f
18                      the.    .   .   physical disability, mental disability t0 discharge the person from
                        employment.           .   .   or to discriminate against the person in compensation or in
19                      terms, conditions, or privileges of employment.

20
               23.      Defendants wrongfully discriminated against Plaintiff based on Plaintist disability and
21
       history ofdisability.
22
               24.      Defendants were Plaintiff’s employer, and Plaintiffwas Defendants‘ employee.
23
               25.      Defendants knew that Plaintiff had a disability that limited a major                                      life activity,   as well as
24
       a history ofdisability that limited a              major   life activity.

25
               26.     Plaintiffwas able to perform the essential job duties 0f Plaintiff’s position with

       reasonable accommodation for Plaintiff’s disability. Defendants refused to provide a reasonable
27
       accommodation     to Plaintiffwithout engaging in a                 good          faith interactive process.              Instead.   Defendants
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                                                                      COMPLAINT
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       terminated Plaintiff for failing to appear for work even though she needed t0 take a leave of absence due

       to Plaintiff’s disability.


               27.      Plaintiffwas discharged in Violation 0fthe Fair                    Employment and Housing Act by

       Defendants due to        Plaintiff’s disability.


               28.      Plaintiff suffered     harm when she was discriminated                      against and discharged        by

       Defendants.

               29.      Defendants’ conduct was a substantial factor                  in   causing Plaintiff’s harm.

               30.      Under Government Code             section 12940, Plaintiff             is   entitled to recover      economic and

       noneconomic damages caused by Defendants’ discriminatory                        practices based on Plaintiff’s disability


10     and Violation 0f the Fair Employment and Housing Act. Plaintiff is also                               entitled to reasonable attorney’s


11     fees and costs pursuant to       Government Code       section 12965.


12             3   1.   The conduct of Defendants and each ofthem                     as described            above was malicious,

13     fraudulent, or oppressive and        done with a    willful   and conscious d_isregard for                 Plaintiff’s rights.


14     Defendants and each 0f them, and their agents/employees or supervisors, authorized, condoned, and

15     ratiﬁed the unlawful conduct of each other. Consequently, Plaintiff                            is   entitled to punitive   damages

16     against each of said Defendants.

17                                                 SECOND CA USE OFACTION
                                          Failure t0 Provide Reasonable Accommodations

19                                                        Cal. Gov.   C0de§ 12940

20                                         (On BehalfofPlaimifngainsl All Defendants)

2]             32.      Plaintiff re-pleads, re-alleges,      and incorporates by reference each and every allegation                       set


22     forth in this Complaint.


23             33.      Government Code section [2940(m)(l) provides                           in   relevant part:

24                              an unlawful employment practice.
                        It is                                    (m)( 1) [ﬂor an employer or other
                                                                            .   .




                        entitycovered by this pan t0 fail t0 make reasonable accommodation for
25
                        the known physical 0r mental disability ofan applicant or employee.

26
               34.      California      Code ofRegulations.      Title 2 section           I   1068 provides       in   relevant part:
27

28                      (a)     Afﬁrmative Duty.          An employer           0r   other          covered entity has an



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                                                               COMPLA INT
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                             afﬁrmative duty to            make       reasonable accommodati0n(s) for the disability 0f
                             any individual applicant or                employee ifthe employer 0r other covered entity
                             knows 0f        the disability,          unless the employer 0r other covered entity can
                             demonstrate,              after    engaging       in   the        interactive       process,    that   the
                             accommodation would impose an undue hardship.


                             (e)   Any     and   all   reasonable accommodations.                    An employer or other covered
                             entity   is    required to consider any and                 all    reasonable accommodations of
                             which     it   is   aware 0r that are brought to                  its   attention   by the applicant or
                             employee, except ones that create an undue hardship. The employer or other
                             covered entity shall consider the preference ofthe applicant or employee t0
                             be accommodated, but has the right to select and implement an
                             accommodation              that   is   effective for both the           employee and the employer or
                             other covered         entity.



                   35.       Defendants were Plaintiff’s employer, and Plaintiffwas Defendants’ employee.
10
                   36.       Defendants knew that Plaintiffhad a disability that limited a major                               life activity,   as well as
11
       a history of disability that limited a                  major    life activity.
12
                   37.       Plaintiffwas able to perform the essential job duties ofPlaintiff’s position with
13
       reasonable accommodation for Plaintiff’s disability.
14
                   38.       Plaintiff requested that               Defendants make reasonable accommodati0n(s) for                       Plaintiff‘s
15
       disability so that she         would be able            t0   perform the essential job requirements.
16
                   39.       Defendants refused to provide a reasonable accommodation                                  t0 Plaintiffwithout      engaging
17
        in   a   good   faith interactive process.             Instead, Defendants terminated Plaintiff for failing to appear for
18
       work even though she needed                     to take a leave     ofabsence due to               Plaintiff’s disability.
19
                   40.       Plaintiffwas discharged                 in violation   ofthe Fair Employment and Housing Act by
20
       Defendants due t0           Plaintiff's disability.
21
                   41.       Plaintiff suffered           harm when she was denied                   a reasonable    accommodation by Defendants.
22
                   42.       Defendants’ conduct was a substantial factor                            in   causing Plaintiff’s harm.
23
                   43.       Under Government Code section l2940,                         Plaintiffis entitled t0 recover Plaintiff‘s
24
        economic and noneconomic damages caused by Defendants’ discriminatory practices based 0n
25
       Plaintiff’s disability         and violation ofthe Fair Employment and Housing Act. Plaintiffis also entitled t0
26
        reasonable attorney‘s fees and costs pursuant t0 Government                                   Code    section 12965.
27
                   44.       The conduct 0f Defendants and each 0fthem                                as described   above was malicious,
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                                                                             COMPLAINT
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     fraudulent, or oppressive and    done with a willful and conscious disregard for                          Plaintiff’s rights,


     Defendants and each ofthem, and their agents/employees or supervisors, authorized, condoned, and

     ratiﬁed the unlawful conduct of each other. Consequently, Plaintiff                        is   entitled to punitive      damages

     against each of said Defendants.

                                                THIRD CA USE 0FACTION
                                   Failure t0 Engage in        Good Faith Interactive Process

                                                   Cal. Gov.        Code § 12940

                                      (On BehalfofPlaintiﬂAgainst All Defendants)

            45.     Plaintiff re-pleads, re-alleges,       and incorporates by reference each and every allegation                          set


10   forth in this Complaint.


11          46.     Govemment Code        section 12940(n) provides in relevant part:


12
                    It is   an unlawful employment practice.           .   .
                                                                               (n)   For an employer 0r other entity
                    covered by this part t0 fail to engage in a timely, good faith, interactive
                    process with the employee or applicant t0 determine effective reasonable
14                  accommodations,        if    any,    in     response          to    a    request     for     reasonable
                    accommodation by an employee                  0r applicant with a                known      physical 0r
15                  mental disability or   known medical             condition.

16
            47.     California     Code ofRegulations          Title 2 section          1   1069 provides      in relevant part:

17

                    (a) Interactive   Process.   When needed to                identify or    implement an        effective,
18
                    reasonable accommodation for an employee or applicant with a disability,

19
                    the     FEHA   requires a timely,         good    faith, interactive             process between an
                    employer 0r other covered              entity     and an applicant, employee, or the
20                  individual's representative, with a           known          physical or mental disability or
                    medical condition. Both the employer 0r other covered entity and the
21                  applicant,     employee or the            individual's             exchange
                                                                                     representative      shall

                    essential    information identiﬁed below without delay or obstruction ofthe
22
                    process.

23
            48.     Defendants were      Plaintiff’s    employer, and Plaintiffwas Defendants’ employee.
24
            49.     Defendants knew that Plaintiff had a disability that limited a major                             life activity,   as well as
25
     a history ofdisability that limited a   major      life activity.



            50.     Plaintiffwas able to perform the essential job duties ofPlaintist position with
27
     reasonable accommodation for Plaintiff’s disability.
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                                                              COMPLAINT
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              5 1.      Plaintiff requested that     Defendants make reasonable accommodation(s) for                  Plaintiff’s


     disabilities so that she       would be able   to   perform the essential job requirements.

              52.       Defendants reﬁJsed to provide a reasonable accommodation t0 Plaintiffwithout engaging

     in a   good   faith interactive process.    Instead, Defendants terminated Plaintiff for failing t0 appear for


     work even though she needed            t0 take a leave   of absence due    to Plaintiffs disability.


              53.       At   all   times material to this Complaint, Plaintiffwas willing to participate in an

     interactive process to determine         whether reasonable accommodation could be made so that she would be

     able t0 perform the essential job requirements.


              54.       Plaintiffwas discharged in violation ofthe Fair              Employment and Housing Act by

10   Defendants due to       Plaintiff’s disability.


11            55.       Plaintiff suffered    harm when Defendants          failed to   engage   in a   good   faith interactive


12   process with Plaintiff.

13            56.       Defendants’ conduct was a substantial factor            in   causing Plaintiff’s harm.

14            57.       Under Government Code             section 12940, Plaintiff is entitled to recover Plaintiff’s


15   economic and noneconomic damages caused by Defendants’ discriminatory practices based on

16   Plaintiff’s disability        and violation ofthe Fair Employment and Housing Act. Plaintiffis also entitled t0

17   reasonable attorney’s fees and costs pursuant to Government                 Code    section 12965.


18            58.       The conduct ofDefendants and each 0fthem                as described     above was malicious,

19   fraudulent, or oppressive and          done with    a willful   and conscious disregard for        Plaintiff’s rights.


20   Defendants and each ofthem, and            their    agents/employees or supervisors, authorized, condoned, and

21   ratiﬁed the unlawful conduct of each other. Consequently, Plaintiff                  is   entitled to punitive    damages

22   against each of said Defendants.

23                                                  FOURTH CA USE 0FACTION
24                                                              Retaliation


25                                                          Cal. Lab. C.    § 98.6

26                                         (0n BehalfofPlaintiﬂAgainst All Defendants)

27             59.      Plaintiffre-pleads, re-alleges, and incorporates             by reference each and every allegation         set


28   forth in this    Complaint.


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                                                                COMPLAINT
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            60.        Cal. Lab.       Code             §   98.6 provides:


                       (a)     A   person shall not discharge an employee              in any manner discriminate,
                                                                                                                01'

                       retaliate, or take                any adverse action against any employee        because the                .   .   .




                       employee           .   .   .   engaged in any conduct delineated in this chapter, including                                           .




                       .  Chapter 5 (commencing with Section 110]) of Part 3 of Division 2, or
                           .




                       because the employee     or because of the exercise by the employee or
                                                                  .   .   .




                       applicant for      employment on behalf 0f                                       himself, herself, 0r others 0f any
                       rights      afforded him 0r her.


                       (b)(l)       Any employee who                              is    discharged,               threatened      with           discharge,
                       demoted, suspended, retaliated against, subjected to an adverse action, or                                                           in

                       any other manner discriminated against in the terms and conditions of his
                       or her employment because the employee engaged in any conduct
                       delineated in this chapter, including      Chapter 5 (commencing with    .       .   .




                       Section 1 101) of Part 3 of Division 2   shall be entitled t0 reinstatement
                                                                                            .       .   .

10
                       and reimbursement for lost wages and work beneﬁts caused by those acts
11                     of the employer.

12
            61.        Defendants were Plaintiff’s employer, and Plaintiffwas Defendants’ employee.
13
            62.        Plaintiff made multiple complaints to Defendants about perceived illegal violations, as
14
     alleged above.
15
            63.       Defendants retaliated against Plaintiffby terminating Plaintiff‘s employment, rather than
16
     investigating or addressing Plaintiff‘s complaints.
17
            64.       Plaintiff was                   harmed.
13
            65.       Defendants’ conduct was a substantial factor                                              in    causing Plaintiff‘s harm.
19
            66.       Pursuant to Cal. Lab. Code § 98.6(b)(3), Defendants are liable to Plaintiff for a                                                              civil

20
     penalty often thousand dollars ($1 0,000) for each violation.
21
            67.       As       a result       0f Defendants’ conduct, Plaintiff has incurred and will continue t0 incur
22
     damages   in   an amount t0 be proven                     at trial.        These damages include                     lost   income,          lost   beneﬁts, great
23
     anxiety, embarrassment, anger, loss of enjoyment oflife, emotional distress, and legal fees and costs in
24
     the hiring oflegal counsel.
25
            68.       The conduct 0f Defendants and each ofthem                                                 as described      above was malicious,

     fraudulent, 0r oppressive and                     done with a            willful   and conscious disregard for                            Plaintiff’s rights.

27
     Defendants and each 0fthem, and                         their    agents/employees or supervisors, authorized, condoned, and
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                                                                                   COMPLAINT
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     ratiﬁed the unlawful conduct of each other. Consequently, Plaintiff                     is   entitled t0 punitive          damages

     against each of said Defendants.

                                                  FIFTH CAUSE 0FACTION
                                          Retaliationfor Reporting Illegal Violation

                                                   Cal. Lab. C.   §§ 1102.5, 1102.6

                                        (0n BehalfofPlaintiﬂAgainst All Defendants)

            69.       Plaintiff re-pleads, re-alleges,        and incorporates by reference each and every allegation                        set


     forth in this Complaint.


            70.       Cal. Lab.   Code    §    1102.5 provides:

10
                      An   employer, or any person acting on behalf 0f the employer, shall not
                      retaliate against an employee for disclosing information to a person with   .   .   .

11
                      authority over the     employee or another employee who has the authority to
12                    investigate,    discover, or correct the violation or noncompliance    if the             .   .   .




                      employee     has reasonable cause to believe that the information discloses a
13                    violation 0f state or federal statute, or a violation 0f or noncompliance with
                      a local, state, or federal rule or regulation, regardless of whether disclosing
14
                      the information     is   part   of the employee's job       duties.

15

            71.       Defendants were Plaintiff’s employer, and Plaintiffwas Defendants’ employee.
l6

             72.      Plaintiff   complained to Defendants regarding certain practices by Defendants that
17

     Plaintiff reasonably believed      were unlawful.
18

             73.      Plaintiff   complained about those perceived              illegal violations t0          persons with authority

                                                                                                                                       01‘
     over Plaintiff and other employees of Defendants that had the authority to investigate, discover,
20

     correct those illegal violations.
21

             74.      As   a result ofthe foregoing complaints             by   Plaintiff,   Defendants retaliated against
22

     Plaintiff by terminating Plaintiff, rather than taking appropriate actions to investigate 0r correct the
23

     perceived unlawful practices.
24

             75.      Plaintiff was    harmed.
25

             76.      Defendants’ conduct was a substantial factor                 in   causing Plaintiff’s harm.
26

             77.      As   a result   ofDefendant's conduct, Plaintiffhas incurred and will continue                             to incur
27
     damages   in   an amount to be proven        at trial.   These damages include          lost         income.   lost    beneﬁts, great
28


                                                                      ll

                                                                COMPLAINT
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     anxiety, embarrassment, anger, loss of enjoyment of            life,         emotional distress, and legal fees and costs                 in



     the hiring oflegal counsel.


            78.     The conduct of Defendants and each ofthem                           as described      above was malicious,

     fraudulent, or oppressive and    done with a   willful    and conscious disregard for                    Plaintiff’s rights.


     Defendants and each ofthem, and their agents/employees or supervisors, authorized, condoned, and

     ratiﬁed the unlawful conduct of each other. Consequently, Plaintiff                          is   entitled to punitive          damages

     against each of said Defendants.

                                                SIXTH CA USE 0FACTION
                                            Failure Io Prevent Discrimination

10                                                  Cal. Lab. C.          § 12940

11                                    (0n BehalfofPlaintiﬂAgainst All Defendants)

12          79.     Plaintiff re—pleads, re-alleges,    and incorporates by reference each and every allegation                                set


13   forth in this Complaint.


14           80.    Government Code        section 12940(m)(2) provides in relevant part:


15
                    It is   an unlawful employment practice          .    .   .
                                                                                  (k)   For an employer        .   .   .to fail to
                    take     all   reasonable   steps   necessaly                 to    prevent        discrimination         and
16
                    harassment from occurring.
17

18           81.    Defendants wrongfully failed to take            all       reasonable steps necessary to prevent


19   discrimination ofPlaintiff based 0n disability.


20           82.    Plaintiff suffered   and continues    t0 suffer           harm       as a result 0f Plaintiff’s discharge             by

21   Defendants.


22           83.    Defendants’ conduct was a substantial factor                        in   causing Plaintiff’s harm.


23           84.    Under Government Code           section 12940, Plaintiffis entitled t0 recover Plaintiff‘s


24   economic and noneconomic damages caused by Defendants’ unlawful                                    practices. Plaintiffis also entitled


25   t0 reasonable attorney’s fees    and costs pursuant      to   Government Code                     section 12965.


26           85.    The conduct of Defendants and each ofthem                           as described      above was malicious,


27   fraudulent, or oppressive and     done with   a willful   and conscious disregard for                     Plaintiff's rights.


28   Defendants and each Ofthem, and their agenIs/employees 0r supervisors, authorized, condoned, and


                                                                     l2

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     ratiﬁed the unlawful conduct ofeach other. Consequently, Plaintiffis entitled to punitive                           damages

     against each of said Defendants.

                                                   SEVENTH CAUSE 0FACTION
                                           Wrongful Termination         in Violation   ofPublic Policy

                                             (0n BehalfofPlaintiﬂAgainst All Defendants)

               86.          Plaintiff re-pleads, re-alleges,    and incorporates by reference each and every allegation                 set


     forth in this Complaint.


               87.          The discharge 0f Plaintiff by Defendants            violates fundamental principles of public policy


     in that there is a substantial         and fundamental policy against terminating employees for unlawful

10   purposes, including on account 0f an employee’s disability.

11             88.          Defendants were      Plaintiff’s   employer, and Plaintiffwas Defendants’ employee.

12             89.          Defendants terminated Plaintiffin violation ofPlaintist rights and public policy by

     terminating her due to her disability.

14             90.          Plaintiffwas harmed.

15             91.          Defendants’ conduct was a substantial factor            in   causing Plaintiff’s harm.

16             92.          In   doing the acts described herein, Defendants deprived Plaintiff of prospective career

17   and employment opportunities, as well as other beneﬁts, by                     failing t0   perform   its   duties to administer


18   and apply       all   State and local laws, procedures and regulations.


19             93.          As   a   proximate result 0f Defendants’ willful, despicable, and intentional conduct towards

20   Plaintiff, Plaintiffhas sustained substantial losses in               eamings and other employment beneﬁts.

21             94.          As   a proximate result of Defendants’ willful, despicable, and intentional conduct towards


22   Plaintiff, Plaintiffhas suffered          and continues     to suffer humiliation,      and emotional       distress; the   amount of

23   such damages t0 be determined by proof at                 trial.



24             95.          In light   0f Defendants"   willful,   knowing, malicious, and discriminatory conduct towards

25   Plaintiff, Plaintiff        seeks an award ofpunitive and exemplary damages                 in   an amount to be determined        at


26   trial   according to proof.

27

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                                                                           l3

                                                                   COMPLAINT
 Case 5:21-cv-01119-JGB-SHK Document 1-3 Filed 07/02/21 Page 17 of 38 Page ID #:28




                                                                               EIGHTH CA USE OFACTION
                                                                               Failure I0 Provide         Meal Periods

                                                                  Cal. Lab.   Code §§   226.7, 512, Applicable           Wage Order

                                                                      (0n BehanfPlaintlfngainst All Defendants)

                    96.           Plaintiff re-pleads, re-alleges,                        and incorporates by reference each and every allegation                       set


     forth in this Complaint.


                    97.           Labor Code section 512 provides                            that "[a]n      employer     may   not employ an employee for a


     work period of more than ﬁve hours per day without providing                                                  the   employee with              a   meal period of not

     less than          30 minutes."                         Id. §   512(a).


10                  98.           Labor Code section 226.7 provides                                that "[a]n   employer    shall not require               an employee to

11   work during              a   meal   .       .       .       period mandated pursuant to an applicable statute, or applicable regulation,


     standard, 0r order ofthe Industrial Welfare Commission." Cal. Lab.                                                   Code   § 226.7(b).


                    99.           Labor Code section 226.7 provides                                that   any employer that     "fails t0           provide an employee a


     meal   .   .   .   period in accordance with a state law, including, but not limited                                       to,   an applicable statute or


     applicable regulation, standard, or order of the Industrial Welfare                                              Commission        .   .   .   shall   pay the

     employee one additional hour of pay                                        at   the employee’s regular rate of compensation for each                        work day

     that the       meal period              .       .       .   [wa]s not provided."      Id. §   226.7(0). Defendants are therefore liable to Plaintiff


     under section 226.7(c) for one additional hour of pay                                            at the    employee’s respective regular hourly rates

     for each           day   that the           meal period was not provided.

                    100.          On   information and belief, Plaintiffwas not provided with proper and timely meal

     periods in accordance with Labor                                         Code   sections 226.7 and 512, and the applicable                     IWC Wage       Order.


     For every day that Plaintiffwas not provided with proper, timely, and uninterrupted 30-minute meal

     period(s), Plaintiffis entitled t0 an additional one-hour                                             wage premium.

                    IOl.          Accordingly, Defendants are liable to Plaintiff for damages according to proof, interest

     thereon, civil penalties, attorneys’ fees, and costs 0f suit under section 226.7 0fthe Labor Code.




                                                                                                      14

                                                                                            COMPLAINT
 Case 5:21-cv-01119-JGB-SHK Document 1-3 Filed 07/02/21 Page 18 of 38 Page ID #:29




                                                                                       NINTH CA USE 0FACT10N
                                                                                       Failure [0 Provide Rest Periods

                                                                            Cal. Lab.    Code § 226.7; Applicable Wage Order

                                                                             (On BehalfofPlaintiﬂAgainst All Defendants)

                       102.                  Plaintiffre-pleads, re-alleges, and incorporates                         by reference each and every allegation                        set


     forth in this Complaint.


                       103.                  Labor Code section 226.7 provides                          that "[a]n    employer    shall not require                an employee to


     work during                         a   .   .   .   rest   .   .   .   period mandated pursuant to an applicable statute, or applicable regulation,


     standard, or order 0f the Industrial Welfare Commission."                                                     Cal. Lab.    Code    § 226.7(b).               During each       rest


10   period, employers                                   must           relieve their    employees 0f     all   work-related duties and employer control.                           See

11   Agustus            v.       ABMSecurity                            Services, Inc., 21   l   Cal.Rptr.3d 634, 647 (2016).

12                     104.                  On          information and belief, Plaintiff alleges that Defendants never provided uninterrupted

13   rest periods                    during the workday to Plaintiff.

14                     105.                  By          failing to            fumish Plaintiff with        rest   periods throughout Plaintiffs employment,


15   Defendants violated the applicable                                               Wage Order and Labor Code          section 226.7.


16                     106.                  Labor Code section 226.7 provides                          that any    employer    that "fails to provide an                     employee

17   a   .   .   .   rest    .   .   .   period            in   accordance with a state law, including, but not limited                       t0,         an applicable statute 0r


18   applicable regulation, standard, or order ofthe Industrial Welfare                                                   Commission          .   .   .   shall   pay the employee

19   one additional hour 0f pay                                             at the   employee’s regular   rate   of compensation for each work day that the                           .   .   .




20   rest period                     [wa]s not provided."                            Cal. Lab.   Code   § 226.7(0).   Defendants are therefore                    liable to Plaintiff


21   under section 226.7(c) for a premium of one additional hour of pay                                                        at the   employee’s respective regular

22   hourly rates for each day that a rest period was not provided. This premium                                                         is   separate from the                premium

23   due 0n account ofDefendants’                                                failure to furnish   meal periods. United Parcel Service,                        Inc.   v.   Super. CL,


24   196 Cal. App. 4th 57, 70 (20]                                             1).



25                     107.                  Defendants’ failure t0 comply with section 226.7 and the applicable                                            Wage Order          subjects


26   Defendants t0                           liability for civil penalties,                  damages, and       restitution.


27                     108.                      Accordingly, Defendants are liable t0 Plaintiffunder section 226.7 ofthe Labor                                                Code       for


28   damages according                                    to proof. interest thereon, civil penalties, attorneys’ fees,                   and costs ofsuit.


                                                                                                           l5

                                                                                                   COMPLAINT
 Case 5:21-cv-01119-JGB-SHK Document 1-3 Filed 07/02/21 Page 19 of 38 Page ID #:30




                                                    TENTH CA USE OFACTION
                                                              Continuing Wages

                                                    Cal. Lab.    Code §§            201, 202, 203


                                         (On BehalfofPlaintiﬂAgainst All Defendants)

              109.    Plaintiff re-pleads, re-alleges,          and incorporates by reference each and every allegation                             set


     forth in this Complaint.


              110.    Labor Code section 201 provides,                   in pertinent part: "[i]f            an employer discharges an


     employee, the wages earned and unpaid              at the   time 0f discharge are due and payable immediately." Cal.

     Lab.   Code   § 201(a).

10            111.     Likewise, Labor        Code   section    202 provides,              in pertinent part:


11
                       If an employee not having a written contract for a deﬁnite period quits his
                       or her employment, his 0r her wages shall become due and payable not later
12
                       than 72 hours thereafter, unless the employee has given 72 hours previous
13                     notice ofhis or her intention to quit, in which case the employee is entitled
                       t0 his or her wages at the time 0f quitting.
14


15   1d.   §202(a).

16             112.    Labor Code section 203(a) provides                     in pertinent part:


17
                       If an     employer willfully      fails to        pay, without abatement or reduction, in

18                     accordance with [s]ections 201            .   .   .
                                                                             [or]  any wages ofan employee
                                                                                    202,   .   .   .




                       who     is   discharged or    who    quits,   the wages ofthe employee shall continue
19                     as a penalty from the        due date thereof at the same                       rate until paid or until an

                       action therefor       is   commenced; but             the    wages          shall not continue for      more
20                     than 30 days.

21
     Id.   §203(a).
22
               113.    As   detailed above, in violation ofCalifornia law, Defendants have                                 knowingly and
23
     willfully refused t0 perform their obligations to               compensate Plaintiff for                  all   wages earned and      all   hours
24
     worked.
25
               H4.     Defendants have terminated the employment ofPlaintiff, yet she                                    is still   owed
26
     compensation      for all   wages earned and       all   hours worked. Accordingly, Plaintiffis entitled t0 the
27
     continuing wages set forth         in   section 203.
28


                                                                                16

                                                                 COMPLAINT
 Case 5:21-cv-01119-JGB-SHK Document 1-3 Filed 07/02/21 Page 20 of 38 Page ID #:31




              115.        Pursuant t0 Labor Code section 203, Plaintiffis entitled t0 continuing wages for up to

     thirty days, restitution         and damages according to proof,                    interest thereon, civil penalties, attorneys” fees,


     and costs of suit.

                                                       ELEVENTH CA USE OFACTION
                                                                         Unfair Competition

                                                      Cal. Bus.          & Prof   Code § 17200     er seq.


                                               (0n BehalfofPlaz'ntiﬂAgainst All Defendants)

                 116.        Plaintiff re-pleads, re-alleges,              and incorporates by reference each and every allegation                         set


     forth in this      Complaint.

10           117.            As   alleged above, Defendants have failed to provide Plaintiff all required meal and rest

11   periods; failed to        pay Plaintiffthe required pay premiums                      for Plaintiff‘s        missed meal and       rest periods;


12   and   failed to    pay Plaintiff her wages           in a       timely manner.

13           118.            On   information and belief, by violating the provisions ofthe Labor                            Code and Wage

14   Orders, Defendants have gained a competitive advantage and unfairly injured competitors                                             in   violation of


15   Cal. Bus.     & Prof.        Code   §   17203.

16           l   19.         The victims ofthese         unfair and illegal business practices include, but are not limited to


17   Plaintiff,   Defendants’ other employees, competing businesses, and the general public. Plaintiffis

18   informed and believes, and based thereon alleges, Defendants performed the above-mentioned acts with

19   the intent 0f gaining an unfair competitive advantage.

20            120.           The   identity 0fthe precise persons to               whom      restitution should         be made    is   a matter that


21   can be ascertained from Defendants’ records, which they are required to keep and maintain.

22            121.           Plaintiff’s efforts in securing the requested reliefwill result "in the                        enforcement of an

23   important right affecting the public interest," as "a signiﬁcant beneﬁt, whether pecuniary or

24   nonpecuniary, [will] be[] conferred on                 .    .   .   a large class 0f persons." Cal. Civ. Proc.            Code      §    1021   .5.



25   Because "the necessity and ﬁnancial burden of private enforcement                                .   .   .   are such as to   make       [an


     attorney’s fees] award appropriate, and [because attorney’s fees] should not in the interest ofjustice be

27   paid out ofthe recovely, ifany," Plaintiff requests an award ofreasonable attorneys‘ fees pursuant t0

28   section 102]       .5   0fthe California Code ofCivil Procedure.                       Id.




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                                                                             COMPLAINT
   Case 5:21-cv-01119-JGB-SHK Document 1-3 Filed 07/02/21 Page 21 of 38 Page ID #:32




                   122.      Pursuant to Business and Professions Code section 17203, Plaintiffrequests restitution

            and disgorgement ofwages and premiums wrongfully retained by Defendants                       in Violation   ofBusiness

            and Professions Code sections 17200            er seq.


                                                                PRA YER FOR RELIEF
                             WHEREFORE,             Plaintiff respectfully requests the following relief:


                       1.    For an award of compensatory damages, including without limitation                  lost   wages,


            earnings, beneﬁts, and other compensation, according t0 proof, as well as                 damages   for emotional


                       and pain and suffering, according t0 proof as allowed by law;
 O\OOONO\



            distress


                       2.    For an award ofpunitive damages as allowed by law;

                       3.    For restitution and disgorgement;

11                     4.    For a declaratory judgment that Defendants has violated California public policy;

12                     5.    For an award of prejudgment and post-judgment                interest;


13                     6.     For award 0f reasonable attorneys’         fees, including but not limited to, as    provided by

14          California Labor    Code        Sections, 21 8.5,   Government Code Section 12965(b), and California Code of

15          Civil Procedure Section 1021          .5;


16                     7.     For    all   costs 0f suit; and


17                     8.     For an award 0f any other and further         legal   and equitable relief as the Court deemsjust

18          and proper.

19


20          Dated: February     5,   2021                                            JAURIGUE         LAW GROUP
21

22
                                                                                    5W 5W;
                                                                                     Michael   J.   Jaurigue
                                                                                     S.   Sean Shahabi
23
                                                                                     Alexander K. Spellman
24                                                                                   A Ilorneysfor Plaintiﬂ"
                                                                                     Karina Robles
25

26

27

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                                                                      COMPLAINT
 Case 5:21-cv-01119-JGB-SHK Document 1-3 Filed 07/02/21 Page 22 of 38 Page ID #:33




                                               DEMAND FOR JUR Y TRIAL
           Plaintiffrequests a     trial   by july   as to all causes of action.




     Dated: February   5,   2021                                   JAURIGUE        LAW GROUP

                                                                    5m 3W;
                                                                   Michael J. Jaurigue
                                                                   S. Sean Shahabi
                                                                   Alexander K. Spellman
                                                                   Attorneyfor Plaintiﬂ
                                                                   Karina Robles




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                                                              COMPLAINT
Case 5:21-cv-01119-JGB-SHK Document 1-3 Filed 07/02/21 Page 23 of 38 Page ID #:34




                            Exhibit              A
Case 5:21-cv-01119-JGB-SHK Document 1-3 Filed 07/02/21 Page 24 of 38 Page ID #:35
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                          DEPARTMENT 0F FAIR EMPLOYMENT & HOUSING
                          2218 Kausen Drive, Suite 100 Elk Grove CA 95758

                          http://www.dfeh.ca.gov   |
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                          (800) 884-1684 (Voice) (800) 700-2320 (TTY) California’s Relay Service
                                                                                |




                                                           Email: contact.center@dfeh.ca.gov
                                                                                                           a‘   711
                                                                                                                                                   KEV'N K'SH' D'RECTO R




                October 30, 2020

                KristinaFernandez
                300 W. Glenoaks Blvd., Suite 300
                Glendale, California 91202


                RE:       Notice to Complainant’s Attorney
                          DFEH Matter Number: 202010-1 1670430
                          Right to Sue: Robles / AT&T Mobility Services, LLC


                Dear     Kristina    Fernandez:

                Attached   a copy of your complaint of discrimination ﬁled with the Department of Fair
                              is

                Employment and Housing (DFEH) pursuant to the California Fair Employment and
                Housing Act, Government Code section 12900 et seq. Also attached is a copy of your
                Notice of     Case Closure and Right                            to   Sue.


                Pursuant to Government Code section 12962, DFEH will not serve these
                documents on the employer. You must serve the complaint separately, to all named
                respondents. Please refer to the attached Notice of Case Closure and Right to Sue for
                information regarding ﬁling a private lawsuit                                     in   the State of California.   A   courtesy "Notice
                of Filing of Discrimination Complaint"                                   is   attached for your convenience.


                Be advised         that the        DFEH does                   not review or edit the complaint form to ensure that                     it


                meets procedural or statutory requirements.

                Sincerely,



                Department          of Fair        Employment and Housing
Case 5:21-cv-01119-JGB-SHK Document 1-3 Filed 07/02/21 Page 25 of 38 Page ID #:36
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               DEPARTMENT 0F FAIR EMPLOYMENT & HOUSING
               2218 Kausen Drive, Suite 100 Elk Grove CA 95758
                                                      |         |
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                                                                    I
                                                                                                                                GAVIN   NEWSOM GOVERNOR
                                                                                                                                        KEV IN   K'SH- D' R ECTOR




               (800) 884-1684 (Voice) (800) 700-2320 (TTY) California’s Relay Service
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                                                                                                 a‘    711
               hup://www.dfeh.ca.gov   |       Email: contact.center@dfeh.ca.gov




    October 30, 2020

    RE:        Notice of Filing of Discrimination Complaint
               DFEH Matter Number: 20201 0—1 1670430
               Right to Sue: Robles / AT&T Mobility Services, LLC


    To   AII   Respondent(s):

    Enclosed is a copy of a complaint of discrimination that has been ﬁled with the
    Department of Fair Employment and Housing (DFEH) in accordance with Government
    Code section 12960. This constitutes service of the complaint pursuant to Government
    Code section 12962. The complainant has requested an authorization to ﬁle a lawsuit.
    This case is not being investigated by DFEH and is being closed immediately. A copy of
    the Notice of Case Closure and Right to Sue is enclosed for your records.


    Please refer t0 the attached complaint                                   for a   list   of   all    respondent(s) and their contact
    information.


    No response           to   DFEH              is       requested or required.


    Sincerely,



    Department of Fair Employment and Housing
             WWW
Case 5:21-cv-01119-JGB-SHK Document 1-3 Filed 07/02/21 Page 26 of 38 Page ID #:37




             DEPARTMENT 0F FAIR EMPLOYMENT & HOUSING
             2218 Kausen Drive, Sui‘e 100 Elk Grove CA 95753

             hnp://www.dfeh.ca.gov   I
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             (800) 884-1684 (Voice) (800) 700-2320 (TTY) California's Relay Service
                                                                  |




                                             Email: contact.center@dfeh.ca.gov
                                                                                      at 711
                                                                                                                               GAV'N   NEMW
                                                                                                                                       KEVINKISHVDIRECTOR




    October 30, 2020

    Karina Robles
    300 W. Glenoaks            Blvd., Suite                 300
    Glendale, California 91202

    RE:      Notice of Case Closure and Right to Sue
             DFEH Matter Number: 202010-1 1670430
             Right to Sue: Robles                       /   AT&T      Mobility Services,       LLC

    Dear Karina Robles:

    This   letter   informs you that the above-referenced complaint                                  was   filed   with the
    Department of Fair Employment and Housing (DFEH) has been closed effective
    October 30, 2020 because an immediate Right to Sue notice was requested. DFEH                                                          will

    take no further action on the complaint.

    This      also your Right to Sue notice. According to Government Code section
           letter is

                     (b), a civil action may be brought under the
    12965, subdivision                                             provisions of the Fair
    Employment and Housing Act     against the person, employer, labor organization or
    employment agency named in the above—referenced complaint. The                                                 civil   action   must be
    filed within one year from the date of this letter.


    To                       Sue notice, you must contact the U.S. Equal Employment
          obtain a federal Right to
    Opportunity Commission (EEOC) to file a complaint within 30 days of receipt of this
    DFEH Notice 0f Case Closure or within 300 days of the alleged discriminatory act,
    whichever       is earlier.



     Sincerely,



     Department        of Fair    Employment and Housing
Case 5:21-cv-01119-JGB-SHK Document 1-3 Filed 07/02/21 Page 27 of 38 Page ID #:38




 A                                       COMPLAINT 0F EMPLOYMENT DISCRIMINATION
                                             BEFORE THE STATE OF CALIFORNIA
                                       DEPARTMENT OF FAIR EMPLOYMENT AND HOUSING
                                       Under the     California Fair      Employment and Housing Act
                                                        (Gov. Code, § 12900 et seq.)

                 In the Matter of the Complaint of
                  Karina Robles                                                               DFEH   No.   20201041670430

 OCCmNOO‘IhOJN




                                                       Complainant,
                 vs.


                  AT&T     Mobility Services,   LLC
                  1025 Lenox Park Blvd NE
                  Atlanta, Georgia 30319


                                                        Respondents



                 1.    Respondent     AT&T Mobility Services, LLC is an employer AT&T Mobility Services, LLC
                 subject to suit     under the California Fair Employment and Housing Act (FEHA) (Gov. Code, §
                 12900     et seq.).


                 2.
                 3.    Complainant Karina Robles, resides          in   the City of Glendale, State of California.


                 4. Complainant alleges that on or about February 14, 2019, respondent took the
                 following adverse actions:


                 Complainant was discriminated against because of complainant's famin care or medical
                 leave (cfra) (employers of 50 or more people), disability (physical 0r mental), medical
                 condition (cancer or genetic characteristic) and as a result of the discrimination was
                 terminated, denied reasonable accommodation for a disability, denied family care or medical
                 leave (cfra) (employers of 50 or more people).


                 Complainant experienced                   because complainant reported or resisted any form
                                                     retaliation
                 of discrimination or harassment, requested or used a disability-related accommodation,
                 requested or used leave under the california family rights act or fmla (employers of 50 or
                 more people) and as a result was terminated, denied reasonable accommodation for a
                 disability, denied family care or medical leave (cfra) (employers of 50 or more people).




                 Additional Complaint Details: Robles began her employment with AT&T Mobility Services,
                 LLC ("AT&T") in or around June 2014. At the onset of her employment, she received overall
                 positive performance reviews. In August 2016, Robles was transferred to the Rancho



                                                                            -1-

                                                      Complaint —   DFEH    No. 202010-1 1670430


                  Date   Filed:   October 30, 2020
Case 5:21-cv-01119-JGB-SHK Document 1-3 Filed 07/02/21 Page 28 of 38 Page ID #:39




 A              Cucamonga           where she was promoted as a Retail Sales Consultant. By 2017,
                                  location
                Robles' performance reviews indicated that she "far exceeded" herjob standard.


                Robles sustained an injury at work in or around November 2017. Robles slipped due to the
                wet floor and sustained a lumbar spine injury. She immediately informed her manager, Amir
                Mashaki ("Mashaki") who told Robles to take an "extended break," but did not offer Robles
                any medical attention. Robles worked approximately another 3-4 hours even after her injury.
                When Robles went home that evening, Robles‘ back pain became progressively worse.

 O(DmNmm-bwk)   Robles went back      work the following day but she did not immediately file a formal
                                        to
                complaint, thinking the pain would just go away. She did not seek medical attention on her
                own. Robles opened a worker's compensation case in November 2017.

                Robles proceeded     work despite having difficulty standing up or sitting up correctly.
                                        to
                Robles' physician confirmed that Robles had two fractured discs on March 14, 2018.


                By October 2018, Robles was receiving chiropractic treatment three times a week. On
                information and belief, Robles' workers compensation attorney forwarded all medical
                documents to AT&T, where Human Resources indicated to Robles that everything was
                "good," but Robles       still   received threats of termination.


                InJanuary 15, 2019, Robles received a Return to Work letter from AT&T informing her the
                date they expected her to report back to work, which also outlined the options available to
                her in the event that she was unable to comply with that date. Robles did not respond. AT&T
                stated that she had been on an unexcused absence since September 25, 2018 and that
                AT&T considered Robles "voluntarily resigned" as of February 14, 2019.

                Robles was wrongfully terminated on the basis of her            disability,   and was discriminated and
                retaliated against by AT&T.




                                                                          -2-

                                                       Complaint — DFEH No. 202010-1 1 670430


                 Date   Filed:   October 30, 2020
Case 5:21-cv-01119-JGB-SHK Document 1-3 Filed 07/02/21 Page 29 of 38 Page ID #:40




                                         VERlFICATION

                                         |,   Michael Jaurigue, am the Attorney in the above—entitled complaint.
                                                              J.                                                   have read                      |




                                         the foregoing complaint and know the contents    thereof.  The  matters alleged are
                                         based on information and belief, which believe to be true.   I




                                         On October            30, 2020,   |   declare under penalty of perjury under the laws of the State of
           OtomVOUUT-PCON-A
                                         California that the foregoing              is   true   and       correct.


                                                                                                                                         Glendale, California




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                                                                                                              -3-

                                                                                   Complaint —    DFEH No.           20201 0—1 1670430

                                              Date   Filed:   October 30, 2020
   Case 5:21-cv-01119-JGB-SHK Document 1-3 Filed 07/02/21 Page 30 of 38 Page ID #:41



                                                                                                                                                                                             SUM-1 00
                                                SUMMONS                                                                                                         FoR counr us: ouLv

                                         (CITA CION JUDICIAL)
                                                                                                                                                      “F" ﬂ‘ﬁﬁ “E “Eff CW”
                                                                                                                                       S                                         CALIFORNIA
                                                                                                                                               POEURNIQYR
  NOTICE To DEFENDANT:                                                                                                                     <
                                                                                                                                                            8932; gFE                               n
                                                                                                                                               SAN BEWARDINO gﬁArgag
  (A VISO AL DEMANDADO):
  AT&T       Mobility Services, LLC, a     Delaware Limited                  Liability   Company; and   DOES     1   through 50,
  inclusive,                                                                                                                                         FEB O 8                  2021
  YOU ARE BEING SUED BY                     PLAINTIFF:                                                                                                                   m
  (LO ESTA              DEMANDANDO EL DEMANDANTE):                                                                               {3y                  aw             WK: 4";
  Karina Robles, individually                                                                                                          ANN CORTEZMM'REW‘,                              DEPUT‘?
   NOTICE! You have been sued. The          court   may     decide against you without your being heard unless you respond within 30 days. Read the
                                                                                                                                                    information
   below.
                                                                                                                                                                                        ..
                                                                                                                                                                                                ‘


      You have 30 CALENDAR DAYS            after this   summons and      papers are served on you to ﬁle a written response at this court and have a copy
                                                                                 legal
  served on the plaintiff. A letter or phone call will not protect you. Your written response must be in
                                                                                                         proper legal form if you want the court to hear your
  case. There may be a coun form that you can use for your response. You can ﬁnd these coun forms
                                                                                                             and more information at the California Courts
  Online Self-Help Center (www.courrinfo.ca.gov/selfhelp), your county law library, or the courthouse
                                                                                                           nearest you. If you cannot pay the ﬁling fee, ask the
  coun clerk for a fee waiver form. If you do not ﬁle your response on time, you may lose the case
                                                                                                        by default, and your wages, money, and property may
  be taken without further warning from the coun.
      There are other legal requirements. You may want to call an attorney right away. If you do not know an
                                                                                                                  attorney, you may want to call an attorney
  referral service. If you cannot afford an attorney, you may be eligible for free legal
                                                                                         services from a nonproﬁt legal services program. You can locate
  these nonproﬁt groups at the California Legal Services Web site (www.lawhelpcalifomiaorg), the California
                                                                                                                    Courts Online Self—Help Center
  (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court
                                                                                                                      has a statutory lien for waived fees and
  costs on any settlement or arbitration award of $10,000 or more in a civil case. The court‘s lien must
                                                                                                            be paid before the coun will dismiss the case.
  ,‘A VISO! Lo han demandado. Si no responde
                                                    dentro de 30 dias, Ia corte puede decidir en su contra sin escuchar su versién. Lea Ia informacién
                                                                                                                                                          a
  continuacién.
      Tiene 30 DfAS  DE CALENDARIO después de que Ie entreguen esta citacio’n y papeles legales para presentar una respuesta por escrito en esta
  corte y hacer que se entregue una copia al demandante. Una cana o una I/amada telefo’nica no Io protegen. Su respuesta por escrito tiene que estar
  en formato legal correcto si desea que procesen su caso en la corte. Es posib/e que haya un formularr'o
                                                                                                           que usted pueda usar para su respuesta.
  Puede encontrar estos formularios de la corte y ma’s informacién en el Centro de Ayuda de Ias Cones de California
                                                                                                                       (www.sucoﬂecagov), en Ia
  biblioteca de [eyes de su condado o en Ia corte que le quede ma’s cerca. Si no puede pagar
                                                                                               Ia cuota de presentacién, pida a/ secretario de Ia corte que
  le dé un formulario de exencio'n de pago de cuotas. Si no presenta su respuesta
                                                                                   a tiempo, puede perder el caso por incump/imiento la corte Ie podra’
  quitar SU sueldo, dinero y bienes sin ma’s advenencia‘
                                                                                                                                        y
     Hay otros requisites legales. Es recomendable que Ilame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar
                                                                                                                                           a un servicio de
  remisién a abogados. Si no puede pagar a un abogado, es posible que cumpla con Ios requisites para
                                                                                                          obtener servicios legales gratuitos de un
  programs de servicios legales sin ﬁnes de Iucro. Puede encontrar estos grupos sin ﬁnes de lucro en el sitio web
                                                                                                                    de California Legal Services,
  (wwaawhe/pcalifornia,org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o ponie‘ndose
                                                                                                                        en contacto con Ia corte o e/
  colegio de abogados locales. A VISO: Por Iey, Ia corte tiene derecho a reclamar las cuotas los costos
                                                                                             y            exentos por imponer un gravamen sabre
  cualquier recuper'acién de $10,000 é ma's de valor recibida mediante un acuerdo o una concesién
                                                                                                     de arbitraje en un caso de derecho civil. Tiene que
  pagar el gravamen de Ia corte antes de que Ia code puede desechar e/ caso.
The name and address ofthe court is:                                                                                         CASE NUMBER: (Namero
                                                        .   _   t   A   _                                                                                                     de/ Caso):
(El nombre y direccio'n de la corte es): C'V” DIVISIOn
247 WestThird Street, San Bernardino CA 92415-0210                                                                                 CN SB                             2       1   [I   5 3 8 b
                                                                                                                                                                                                             -




The name, address, and telephone number of plaintiff‘s attorney, or plaintiff without an attorney, is: (El nombre,                                              la   direccién        y el namero
de tele'fono de/ abogado de/ demandante, o del demandante que no tiene abogado, es):
S. Sean Shahabi; Jaurigue Law Group; 300 W. Glenoaks Blvd., Suite 300, Glendale CA
                                                                                           91202; 818 -
DATE:
(FeCha)
                               FEB 0 8                                         Clerk,                                by                                                                      "putY
                                         202’                                                               (Secretario)
                                                                                                                                                            g




 {Forproof ofservice of this summons, use Proof of Service of Summons (form
                                                                                                              POS-010).)\ﬁ(néiW\mg
 (Para prueba de entrega de esta citatién use e/ formulario Proof of Service of Summons, (POS-010).
                                           NOTICE TO THE PERSON SERVED: You                                 are served
  [SEAL]

                                           1.

                                           2.
                                                E
                                                E           as an individual defendant.
                                                            as the person sued under the ﬁctitious               name     of (specify):

                                           3.   E           on behalf of(specify):

                                                 E
                                                under:

                                                 E                          CCP 416.10
                                                                            CCP 416.20
                                                                                            (corporation)                       E
                                                                                                                                E          CCP 416.60
                                                                                                                                           CCP 416.70
                                                                                                                                                                  (minor)


                                                 D                          CCP 416.40
                                                                                            (defunct corporation)

                                                                                                                                C]         CCP 416.90
                                                                                                                                                                  (conservatee)




                                                EE
                                                                                            (association or partnership)                                          (authorized person)
                                                                            other (specify):
                                          4.                by personal delivery on (date)
                                                                                                                                                                                             Pa e1      0“
Form Adopted   for   Mandatory Use
Judicial Councul of California                                                            SUMMONS                                                       Code      of Civil   Procedure §§ 412.20, 465
SUM-100    [Rev‘ July   1,   2009]
                                                                                                                                                                                   www couns cagov
                      A
Case 5:21-cv-01119-JGB-SHK Document 1-3 Filed 07/02/21 A.
                                                        Page 31 of 38 Page ID #:42




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         Case 5:21-cv-01119-JGB-SHK Document 1-3 Filed 07/02/21 Page 32 of 38 Page ID #:43                          J

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             iﬂiﬁ‘ﬁeﬁEﬁiﬁiﬂ32°€§§3310§3§193f§’a§                                                                                                                                                                                            CM-01 0
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                                                                                                                          2047                                                                     ‘0"    “”7““ °"”
                      [JAlexandeIi K
                                                                                                                                      1   0)
                                                     SGpellman       (SBN 250398)
                            Ul'l                 W
                      3a00      geclgnoalggquq Suite 300,
                                                             Glendale,                               CA   9 1 202
                                                                                                                                                                                                    F  L E D
                                                                                                                                                                                                           a

                              TELEPHONE No.: 8 1 8-63 0-7280                                                                                                                     S‘g’gﬂﬁ‘
                  ATTORNEY FOR
                                                                                                        FAx N0;     888-879— 1 697                                                                   893% gégﬁkgﬁﬁgm
                                                (Name):    Karina Robles                                                                                                                 SAN BERNARDINO                     DISTRICTA
         SUPERIOR                coum 0F CALIFORNIA, COUNTY 0F SAN
                           STREET ADDRESS:
                                                                                                       BERNARDINO
                                            247 West Third Street
                           MAILING ADDRESS: 247
                                                                                                                                                                                                  FEB O 8              2821
                                                West Third Street
                           CITV    AND    ZIP   CODE:      Sgn‘Bemardino, 924 1 5—02 1 0                                                                                                                              N
                                  BRANCH NAME; ClVll                 DlVlSlon
                  CASE NAME:                                                                                                                                               BY                         I            ~.:;&:    j


                                                                                                                                                                                 ANAI COR                      -
                                                                                                                                                                                                                      MIR             DEPUTY
                  Karina Robles                            V.   AT&T Mobili                  Services,      LLC, et. a].
                                                                                                                                                                                                                                  .




                           CIVIL          CASE COVER SHEET
                                                                                                            Commex Case                       Designation                  CASE              R'

                                                                [j
                             Unlimited
                             (Amount
                             demanded
                                                                      Limited
                                                                      (Amoum
                                                                      demanded  is
                                                                                                      E         Counter
                                                                                           Filed with ﬁrst appearance
                                                                                                                                          E              .

                                                                                                                                                       Jomder
                                                                                                                                                                                    U“, SB                             2     ‘        05
                                                                                                                                                                                                                                                .




                                                                                                                                                                                                                                                      3    5
                             exceeds $25,000)                                                                          by defendant
         L                                                           $25,000 or less)          (Cal. Rules of Court, rule 3.402
                                                                                                                               )
                                                                         Items 1—6 below must be completed
                                                                                                               (see instructions on page
             .        Check one box below for                        the case type that best describes
                                                                                                                                                                              2).
                                                                                                        this case:




                 DE   Auto Tort
                                   Au‘o (22)                                                        D
                                                                                                    Contract
                                                                                                                                                                 Provisionally           Complex     Civil Litigation

                                   Uninsured motorist (46)
                  Other Pl/PDNVD (Personal InjurylPrope
                                                       rty
                                                                                                    D
                                                                                                    D
                                                                                                           Breach       of contract/wan—amy

                                                                                                           Rule 3.740 collections (09)

                                                                                                           Other collections (09)
                                                                                                                                            (05)                 (Cal.   Rules of Court, rules 3.400—3.403)

                                                                                                                                                                          Antitrust/Trade regulation
                                                                                                                                                                                                     (03)
                                                                                                                                                                          Construction defect (10)

                 D
                 D
                  DamageNVrongful Death) Tort
                                   Asbestos (04)
                                                                                                           Insurance coverage
                                                                                                           Other contract (37)
                                                                                                                                               (1 g)
                                                                                                                                                                DDDDDD
                                                                                                                                                                          Mass   tort (40)




                 E
                 E]
                                   Productnabmty(24)
                                   Medica' ma'pra‘mce (45)

                                   Other pl/PD/WD (23)
                                                                                                   DRealpmpeny
                                                                                                          Eminem domain/“Werse
                                                                                                                                                                          Securities litigation (28)

                                                                                                                                                                          Environmentalrroxictort(30)

                                                                                                                                                                          Insurance coverage claims arising


                 CNon-PI/Pommomernon                                                               D
                                                                                                   DO
                                                                                                          condemnation
                                                                                                          Wrongfu'ewctlo“ (33)
                                                                                                                                 (14)
                                                                                                                                                                         above
                                                                                                                                                                         typesm)
                                                                                                                                                                                    listed provisionally
                                                                                                                                                                                                            from the
                                                                                                                                                                                                                    complex case


                 E
                 D
                                   BusinesS tomunfair business practice
                                   Civilrights(08)
                                                                        (07)                              Other real propeny (26)

                                                                                                   Unl wfulDetainer
                                                                                                   DecCommerda'
                                                                                                                                                                Enforcement
                                                                                                                                                                D                   of     Judgment
                                                                                                                                                                         Enforcementofjudgment(20)

                 E
                 E
                                  Defamation (13)
                               Fraud(16)                                                           ER     ResidentiaH(32)
                                                                                                                               (31)
                                                                                                                                                                Miscellaneous CivilComplaint
                                                                                                                                                                D
                 E             InteIIectuaIproperly(19)

                               Professionalnegligence(25)
                                                                                                   DD     DTUQS(38)
                                                                                                                                                                E        RICO(27)
                                                                                                                                                                         Other complaint(notspecifiedabove)(4
                                                                                                                                                                                                              2)
                 E:
                 Emphymem
                               O‘her ”on'PUPD/WD t0” (35)                                         E
                                                                                                  E
                                                                                                   Jud' c'a'Rev'eW

                                                                                                          Asse‘forfe'mre (05)
                                                                                                                                                                E
                                                                                                                                                                Miscellaneous CiviIPetition


                 E
                 D             Wrongfulierminaﬁon(36)
                                                                                                  D       Penuon    re

                                                                                                         Writofmandatewz)
                                                                                                                          arbi‘rahon           awar“(11)
                                                                                                                                                                D        Partnership and corporate gover
                                                                                                                                                                                                        nance (21)
                                                                                                                                                                         Other petition (not speciﬁed above)
                                                                                                                                                                                                             (43)


  2.             This case
                               Otheremployment(15)

                                                                       is   not    complex under
                                                                                                  D      Other'udicialreview(39)

                                                                                                            rule   3.400 ofthe California Rules of Coun.
                 factors requiring exceptional judici                                                                                                                               If   the case          complex, mark the
                 a.    E                              al
                                     Large number of separately represente
                                                                                  management:
                                                                              d parties                                   d.    D             Large number of witnesses
                                                                                                                                                                                                      is




                 b.    I             Extensive motion practice raising difﬁcu
                                     issues that            will   be time—consuming
                                                                                                     lt or novel

                                                                                              to resolve
                                                                                                                          e.    D             Coordination with related actions pendi
                                                                                                                                                                                      ng                       in    one or more courts
                 c.    I             Substantial            amount     of   documentary evidence                          f.    D             in other counties, states
                                                                                                                                                                       , or countr
                                                                                                                                              Substantial postjudgmentjudicial
                                                                                                                                                                               supervision
                                                                                                                                                                                               ies, or in a federal court


 3
 4.
                 Remedies sought (check allthat
             Number                  of    causes
                                                                             apply):     am          monetary           b.-           nonmonetary‘, declaratory or injunc
                                                                                                                                                                          tive                      relief            C.    -punitive
 5
 6
             This case
                 lf   there are any
                                           D          is

                                                     known
                                                           of action (specify):

                                                                      is   not
                                                                related cases.
                                                                                    l




                                                                                  file
                                                                                         I


                                                                                  a class action        suit.

                                                                                         and serve a notice of related case.
                                                                                                                             (You                            may use      form CM—O15.)
 Date;      02/05/2021
s.       scan Shahabi
                                                           HYPE 0R PRWT NAME)                                                             >                        5W 5W;
                                                                                                                                                             (SIGNATURE 0F PARTY 0R ATTORNEY FOR
                                                                                                                                                                                                                    pAam
     o Plaintiff                   must
                                                                                                                    NOTICE
                             cover sheet with the ﬁrst paper ﬁled in
                                                ﬁle this
                                                                     the action or proceeding (exce
         under the Probate Code, Family Code,                                                       pt small claims cases or cases ﬁled
                                               or Welfare and Institutions Code)
         in sanctions.
                                                                                 . (Cal. Rules of Court, rule 3,220.) Failur
     '
                                                                                                                             e                                                                                      to ﬁle   may         resu|t
       File this cover sheet in additi
                                       on to any cover sheet required
     - lfthis case                                                                                                  by local court rule.
                    is complex under rule 3.400
                                                  et seq. ofthe Califo                                             rnia Rules of Court, you must
         other parties to the action or proceeding                                                                                               serve a copy of                                  this    cover shee‘ on              all
     0   Unless                this       Is   a collections case under rule                 3.   740 or a complex case,                  this   cover sheet    will   be used       for statistical       purposes              only.
Form Adopted for Mandgtory‘Use
                                                                                                                                                                                                                                      age   1       ofz
  Judmal Councnl of Cahfomla
     CM-01U            [Revv July
                                                                                              CIVIL     CASE COVER SHEET                                                   Cal. Rules of    Court rules 2.39, _3.220, 3400-3 403,           3. 740-,
                                      1,   2007]                                                                                                                                    Cal.   Standards of Judvcval Admmnstrauon,
                                                                                                                                                                                                                                         std.       3.10
                                                                                                                                                                                                                       www coumnlo cagov
     Case 5:21-cv-01119-JGB-SHK Document 1-3 Filed 07/02/21 Page 33 of 38 Page ID #:44




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   Case 5:21-cv-01119-JGB-SHK Document 1-3 Filed 07/02/21 Page 34 of 38 Page ID #:45
                                                                   v                                  ‘




                                                                                                                         \J
                                                            INSTRUCTIONS 0N        How To COMPLETE THE COVER SHEET                                                      CM'°1°
    To    Plaintiffs             and Others
                                 Filing First Papers. If you are ﬁling
                                                                           a ﬁrst paper (for example, a complaint)
   complete and ﬁle, along with your ﬁrst paper,                                                                        in a civil case, you must
                                                    the Civil Case Cover Sheet contained on
   statistics about the types and number
                                                                                                page 1. This information will be used to compile
                                           s of cases ﬁled. You must complete items 1 through
   one box for the case type that best describes the case.                                            6 on the sheet. ln item ‘l, you must check
                                                                If the case ﬁts both a general
   check the more speciﬁc one. If the case has multipl                                          and a more speciﬁc type of case listed in item
                                                                                                                                                 1,
                                                            e causes of action, check the box that
   To assist you in completing the sheet, examples of                                                best indicates the primary cause of action.
                                                           the cases that belong under each case
   sheet must be ﬁled only with your initial paper.                                                  type in item 1 are provided below. A cover
                                                      Failure to ﬁle a cover sheet with the ﬁrst
   its counsel, or both to sanctio
                                                                                                  paper ﬁled in a civil case may subject a
                                   ns under rules 2.30 and 3.220 of the Califor                                                             party,
                                                                                 nia Rules of Court.
   To Parties in Rule 3.740 Collections Cases. A “collec
                                                               tions case" under rule 3.740 is
   owed in a sum stated to be certain that is not more                                         deﬁned as an action for recovery of money
                                                       than $25,000, exclusive of interest and attorne
   which property, services, or money was acquire                                                      y‘s fees, arising from a transaction in
                                                   d on credit. A collections case does not
   damages,                                                                                   include an action seeking the following:
                          (2)     punitive      damages,
                                            recovery of real property, (4) recovery of
                                                             (3)                                                                       (1) tort
   attachment.                                                                            personal properly, or (5) a prejudgment
                 The identiﬁcation of a case as a rule 3.740 collect                                                                   writ of
                                                                      ions case on this form means that it
   time-for-service requirements and case                                                                   will be exempt from the general
                                             management rules, unless a defendant ﬁles a respons
   case will be subject to the requirements for service                                              ive pleading. A rule 3.740 collections
                                                        and obtaining a    judgment in rule 3.740.
   To Parties             in     Complex Cases.
                                          complex cases only, parties must also use the
                                                            ln
                                                                                              Civil Case Cover Sheet                           to   designate whether the
   case is complex. If a plaintiff believes the case
                                                     is complex under rule 3.400 of
                                                                                        ‘he California Rules of Court,       must be indicated by
                                                                                                                                             this
   completing the appropriate boxes in items
                                                1 and 2. lf a plaintiff designa
                                                                                tes a case as compie   x, the cover sheet must be sewed with the
  complaint on        parties to the action. A defendant
                                all
                                                           may ﬁle and serve no later than the time of its ﬁrst appear
  plaintiff‘s designation, a counter
                                     -designation that the case is not comple                                               ance a joinder in the
                                                                              x, or, if the plaintiff has made no designation,
  the case is complex.                                                                                                          a designation that
                                                                                 CASE TYPES AND EXAMPLES
  Auto Tort                                                            Contract
         Auto (22)-Persona| InjurylPropeny                                                                               Provisionally   Complex       Civil Litigation (Cal.
                                                                           Breach of Contract/Warranty (06)              Rules of Court Rules 3.400—3.403)
              DamageNVrongful Death                                            Breach of Rental/Lease                         Anﬁtrust/Trade Regulation (O3)
         Uninsured Motorist (46) (if the                                           Contract (not unlawful detainer
                                                                                                                              Construction Defect (10)
             case involves an uninsured                                               or wrongful eviction)                   Claims Involving Mass Tort (40)
              motorist claim subject Io                                        ContractIWarranty Breach—Seller
                                                                                                                              Securities Litigation (28)
              arbitration,            check   this ilem                            Plaintiff (not fraud or negligence)
                                                                                                                              Environmental/Toxic Tort (30)
              instead of Auto)                                                 Negligent Breach of Contract/
                                                                                                                              Insurance Coverage Claims
  Other PIIPDNVD (Personal lnjuryl                                                 Warranty                                       (arising from provisionally complex
  Properly DamageNVron gful Death)                                             O‘her Breach of Contract/Warranty
                                                                                                                                  case type listed above) (41)
  Tort                                                                    Collections (e.g.,     money owed, open         Enforcement of Judgment
         Asbestos (04)                                                         book accounts)  (09)                          Enforcement of Judgment (20)
             Asbestos Properly Damage                                          Collection Case—Seller Plaintiff
                                                                                                                                 Abstract of Judgment (Out             of
             Asbes‘os Personal Injuryl                                         O‘her Promissory No‘elCoIlecﬁons                      County)
                  Wrongful Death                                                  Case                                           Confession of Judgment (non-
         Product Liability (not asbestos or                               Insurance Coverage        (not provisionally
                                                                                                                                     domestic relations)
             toxic/environmental) (24)                                        complex) (1 8)
                                                                                                                                 Sister State Judgment
         Medical Malpractice (45)                                             Auto Subrogation
                                                                                                                                 Administrative Agency          Award
             Medical Malpractice—                                             Other Coverage
                                                                                                                                    (not unpaid taxes)
                  Physicians & Surgeons                                Other Contract (37)                                       Petition/Ceniﬂcation of Entry of
             Other Professional Health Care                                Contractual Fraud                                        Judgment on Unpaid Taxes
                 Malpractice
                                                                           O‘her Con‘rac‘ Dispute                                Other Enforcement of Judgmem
      Other PllPD/WD (23)                                          Real Property                                                      Case
          Premises Liability                  (e.g., slip              Eminent Domain/lnverse                            Miscellaneous     Civil    Complaint
              and fall)                                                       Condemnation                                   RICO
                                                                                                  (14)                              (27)
             Intentional Bodily           InjurylPDNVD                   Wrongful Eviction (33)                              Other Complaint (not specified
                      (e.g.,      assault, vandalism)                                                                            above) (42)
                                                                         Other Real Property (e.g., quiet title)
             Intentional lnﬂiction of                                                                            (26)
                                                                             Writ of Possession of Real Property                 Declaratory Relief Only
                 Emoﬁonal Distress                                                                                               Injuncﬁve Relief Only (non-
                                                                             Mortgage Foreclosure
            Negligent Inﬂiction of
                                                                              Quie( Tiﬂe                                             harassment)
                 Emotional Distress
                                                                              Other Real PropeNy (no! eminent                    Mechanics Lien
            Other PIIPDNVD
                                                                              domain, landlord/Tenanl, or                        Other Commercial Complaint
 Non-PIIPD/WD (Other) Tort
                                                                              foreclosure)                                           Case (non«tort/non-complex)
     Business Tort/Unfair Business                                 Unlawful Detainer                                            Other Civil Complaint
         Practice (07)                                                 Commercial (31)                                             (non-ton/non-comp/ex)
     Civil Rights (e.g., discn'mination,                                                                                 Miscellaneous
                                                                         Residential (32)                                               Civil Petition
         false arrest) (not civil                                                                                           Partnership and Corporate
                                                                         Drugs (38)   (if   the case involves illegal
         harassment) (08)                                                                                                       Governance
                                                                              drugs, check this item; otherwise,                                    (21)
     Defamation (e.g., slander,                   libel)                                                                    Other Petition (not specified
                                                                              report as Commercial or Residential)
             (1 3)                                                                                                              above) (43)
                                                                   Judicial   Review
     Fraud (16)                                                                                                                 Civil Harassment
                                                                         Asset Forfeiture (05)
     Intellectual         Propeny       (1 9)                            Petition Re: Arbitration Award                         Workplace Violence
     Professional Negligence (25)                                                                            (1 1)
                                                                         Writ of Mandate (02)                                   EIder/Dependent Adult
         Legal Malpractice                                                                                                           Abuse
                                                                             Writ-Administrative
                                                                                            Mandamus
        Other Professional Malpractice                                       Wm—Mandamus on Limited Conn                        Election Contest
            (not medical or legal)                                                                                              Petition for   Name Change
                                                                                Case Matter
     Other Non-PI/PDNVD Tort (35)                                                                                               Petition for Relief
                                                                             Writ-Other Limited Court Case                                                 From Late
Employmem                                                                                                                           Claim
    Wrongful Termination (36)                                                   Review
                                                                                                                                Other Civil Petition
    Other Employment (1 5)                                              Other Judicial Review (39)
                                                                            Review of Health Ofﬁcer Order
                                                                            Notice of Appeal-Labor
                                                                               Commissioner Aegeals
CM—mo [Rem   July    1.   2007]
                                                                        CIVIL   CASE COVER SHEET                                                                   Page     2 o! 2
  Case 5:21-cv-01119-JGB-SHK Document 1-3 Filed 07/02/21 Page 35 of 38 Page ID #:46
                                                                             V
                                                                                         ‘


                                                   \y                                                                      \r’


                              SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN BERNARDINO


                                                                                                                                                              05      3 8 5
       Karina Robles, individually,                                                                 Case      No_3      (“M       SB                2     1


                                      vs.                                                           CERTIFICATE OF ASSIGNMENT

 AT&T            Mobility Services, LLC,        et. al.



      A    civil   action or proceeding presented for               filing   must be accompanied by                     this Certificate.           If   the ground
      is   the residence of a party,          name and        residence shall be stated.

      The undersigned declares                that the above-entitled matter         is filed for proceedings in the
      San Bernardino                                  District of       the Superior Court under Rule131 and General Order
      of this courtfor the        checked reason:
                   E      General                         D
                                                     Collection
                         Nature of Action         Ground
 D                 1.    Adoption                          Petitioner resides within the district                                             .




 D                 2.    Conservator                       Petitioner or conservatee resides within the district.
 D                 3.    Contract                          Performance           in   the district     is   expressly provided         for.

 D                 4.    Equity                           The cause of action arose within the district.
 D                 5.    Eminent Domain                   The property is located within the district.
 D                 6.    Family Law                        Plaintiff,   defendant, petitioner or respondent resides within the district.
 D                 7.    Guardianship                      Petitioner or    ward resides within the district or has property within thedistrict.
 D                 8.    Harassment                        Plaintiff,   defendant, petitioner or respondent resides within the                                   district.

 D                 9.    Mandate                          The defendant functions wholly within the                          district.

 D                 10.   Name Change                      The petitioner resides within the district.
 D                 11. Personal Injury                    The injury occurred within the district.
 D                 12.   Personal Property                The property is located within the district.
 D                 13.   Probate                          Decedent resided or resides                       within or   had property within the               district.
 D                 14.   Prohibition                      The defendant functions wholly within the district.
 D                 15.   Review                           The defendant functions wholly within the district.
 D                 16. Title to Real Property             The property is located within the district.
 D                 17.   Transferred Action               The lower court is located within the district.
 D                 18.   Unlawful Detainer                The property is located within the district.
 D                 19. Domestic Violence                  The petitioner, defendant, plaintiff or respondent resides                                     within the district.
 D                 20. Other
 E                 21. THIS FILING WOULD                  NORMALLY FALL WITHIN JURISDICTION OF SUPERIOR COURT
  The address             of the accident, performance, party, detention, place of business, or other factor which qualiﬁes this
  case        for ﬁling in the    above-designed     district is:


Place of Business/ Place                    Where Causes       of Action         Arose                                    7875 Monticello Ave.                   Space 1012
           NAME — INDICATE   TITLE   OR OTHER QUALIFYING FACTOR                                                          ADDRESS

Rancho Cucamonga                                                                       CA                                                 91 739
          CITY                                                                                      STATE                                           ZIP   CODE

  Ideclare, under penalty of perjury, that the foregoing                               is    true   and correct and         that this declaration                was
  executed on February 8, 2021          at Glendale
  California.


                                                                                                                        5m 3W5;
                                                                                                                         Signature of Attorney/Parfy


Form # 13—16503—380                                                 CERTIFICATE OF ASSIGNMENT                                                     Rev. June 2019
Mandatory Use
Case 5:21-cv-01119-JGB-SHK Document 1-3 Filed 07/02/21 Page 36 of 38 Page ID #:47
Case 5:21-cv-01119-JGB-SHK Document 1-3 Filed 07/02/21 Page 37 of 38 Page ID #:48

                                                 SUPERIOR COURT OF CALIFORNW
                                                  COUNTY OF SAN BERNARDINO
                                                           San Bernardino District
                                                              247 West 3rd St
                                                         San Bernardino CA 92415
                                                                www.sb-court.org
                                                                 909-708—8678


                                                Robles   -v-   AT&T    Mobility Services,       LLC   et al

                                                                                                                               Case Number
   NOTICE OF TRIAL SETTING CONFERENCE and NOTICE OF CASE ASSIGNMENT
                                                                                                                               CIVSBZ1 05385
   JAURIGUE LAW GROUP
   300 WEST GLENOAKS BLVD
   STE 300
   GLENDALE CA 91202


   This case has been assigned            to:    Bryan Foster         in   Department 822         -   SBJC      for    all   purposes.

   Notice    is   hereby given that the above-entitled case has been set                        for Trial Setting            Conference on:

                              Hearing Date: 09/23/2021 at 9:00                    AM    in   Department $22             -    SBJC


   Date: 3/23/2021                                                                     Nancy CS Eber           —   a     ~   ourt Executive Officer




                                                     CERTIFICATE OF SERVICE

   |am a Deputy Clerk of the Superior Court for the County of San Bernardino at the above—Iisted address.                                                  I




   am not a party to this action and on the date and place shown below, served a copy of the above—listed
                                                                                                        |




   notice by:
   E      Enclosed     in   a sealed envelope mailed           to the interested party           addressed above                for collection   and
          mailing this date, following standard Court practices.
   D      Enclosed in a sealed envelope, first class postage prepaid in the U.S. mail at the location shown
          above, mailed to the interested party and addressed as shown above or as shown on the attached
          listing.

   D      A copy     of this notice   was given to the filing party at the counter.
   D      A copy     of this notice   was placed in the bin located at this office and                        identified      as the location    for the
          above law     firm's collection of file-stamped          documents.
   Date of Mailing: 3/23/2021

   |   declare under penalty of perjury that the forgoing                  is   true   and   correct.       Executed o          3/23/2021 at San
   Bernardino, CA.
      Case 5:21-cv-01119-JGB-SHK Document 1-3 Filed 07/02/21 Page 38 of 38 Page ID #:49


  NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT A'I'I'ORNEY                                     STATE BAR NUMBER                                Reserved   for Clerk’s File   Stamp




  TELEPHONE            No.:
  E-MAIL ADDRESS:                                                      TRIAL SETTING CONFERENCE DATE:
  ATTORNEY FOR (Name):                                                 UNLIMITED CASE:
  FAX NO-        (Optional):                                           LIMITED CASE:

       SUPERIOR COURT 0F CALIFORNIA, COUNTY 0F SAN BERNARDINO
  COURTHOUSE ADDRESS:

  PLAINTIFF:

  DEFENDANT:

                                                                                                                                       CASENUMBER:
                    INITIAL TRIAL                  SETTING CONFERENCE STATEMENT
 INSTRUCTIONS: All applicable boxes must be checked, and the specified information must be provided. This document
 must be filed and served at least 15 days prior to the trial settinq conference date.

 1.     Party or parties (answer one):
            a.          D
                     This statement is submitted by party (name):
            b.          D
                     This statement is submitted jointly by parties (names):


 2.    Service of Complaint on                   all   parties     has    D    has not     D   been completed.

 3.    Service of Cross-Complaint on                         all   parties    has    D   has not   D     been completed.

 4.     Description of case               in   Complaint:

 5.     Description of case               in   Cross—Complaint:



 6.     Has      all   discovery been completed: Yes                     D      No   D      Date discovery anticipated to be completed:

 7.     Do you agree            to   mediation?        Yes     D         No   D     Please check type agreed       to:   Private:           Court-sponsored:

 8.     Related cases, consolidation, and coordination: Please attach a Notice of Related Case.

        D    Amotionto                D   consolidate              D     Trialdates requested:Yes           D      No    D   Available dates:
       Time estimate:

 9.    Other issues:
        D The following               additional matters are requested to                be considered by the Court:

 10.    Meet and Confer:
        D  The parties represent                that they      have met and conferred on           all   subjects required by California Rules of Court, Rule 3.724.


        D    The       parties       have entered      into the following stipulation(s):


 11.   Total       number       of   pages attached       (ifany):


        |   am
             completely familiar with this case and will be fully prepared to discuss the status of discovery and alternative dispute
       resolution,  as well as other issues raised by this statement, and will possess the authority to enter into stipulations on these
        issues at the time ofthe Initial Trial Setting Conference, including the written authority ofthe party where required.
        Date:



                  (TYPE        OR PRINT NAME)                                                                 (SIGNATURE OF PARTY OR ATTORNEY



                  (TYPE        OR PRINT NAME)                                                                 (SIGNATURE OF PARTY OR ATTORNEY



Form # 13-09001-360                                     INITIAL TRIAL           SETTING CONFERENCE STATEMENT
Mandatory Form
